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                                         UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF FLORIDA
                                                   CASE NO.:
            SILVIO QUEZADA VEGA, and all
            others similarly situated pursuant to
            29 U.S.C. §216(b),

                                     Plaintiff,
            vs.

            LE CAT USA, INC. f/k/a LECHAT USA,
            INC., d/b/a RUMBAS EVENT RENTALS,
            a Florida corporation, GIMI GASSAN
            KASSIS, an individual,

                                     Defendants.
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                                                             COMPLAINT

                     SILVIO QUEZADA VEGA ("Plaintiff'), individually and on behalf of others similarly

            situated, sues LE CAT USA, INC. f/k/a LECHAT USA, INC., d/b/a RUMBAS EVENT

            RENTALS ("Corporate Defendant") and GIMI GASSAN KASSIS (hereinafter "Individual

            Defendant") (Corporate Defendant and Individual Defendant are referred to collectively as

            "Defendants"), and alleges:

                                                  NATURE OF THE ACTION

                     1.      Plaintiff brings this action on behalf of himself, and other similarly situated

            individuals, for unpaid overtime wages pursuant to the Fair Labor Standards Act of 1938, 29

            U.S.C. § 201 et seq. ("FLSA").

                    2.       Plaintiff seeks certification of this action as a collective action on behalf of Plaintiff

            individually, and on behalf of all other similarly situated employees and former employees of

            Defendants pursuant to 29 U.S.C. § 216(b).
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                    1)       Awarding Plaintiff liquidated damages in an amount equal to one hundred percent

            (100%) of the total amount of minimum wage, spread of hours pay and overtime compensation

            shown to be owed pursuant to NYLL § 663 as applicable; and liquidated damages pursuant to

            NYLL § 198(3);

                     m)      Awarding Plaintiff pre-judgment and post-judgment interest as applicable;

                     n)      Awarding Plaintiff the expenses incurred in this action, including costs and

            attorneys' fees;

                     o)      Providing that if any amounts remain unpaid upon the expiration of ninety days

            following issuance ofjudgment, or ninety days after expiration of the time to appeal and no appeal

            is then pending, whichever is later, the total amount of judgment shall automatically increase by

            fifteen percent (1 5%), as required by NYLL § 198(4); and

                     p)      All such other and further relief as the Court deems just and proper.

                                                        JURY DEMAND

                     Plaintiff demands a trial by jury on all issues triable by a jury. November

                     November 4, 2022
                                                                   Respectfully Submitted,

                                                                   LAW OFFICES OF NOLAN KLEIN, P.A.
                                                                   Attorneys for Plaintiff
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